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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

ADALIA DUDLEY,                     §
                                   §
             Plaintiff,            §
                                   §
v.                                 §
                                   §                            1:20-CV-228-RP
ECCO 2018TX1, LLC, LAWGIX LAWYERS, §
LLC, and TEXAS BONDING CO.,        §
                                   §
                                   §
             Defendants.           §

                                               ORDER

        On April 27, 2020, Plaintiff Adalia Dudley filed a Notice of Settlement informing the Court

that the parties had reached a settlement and requesting a thirty-day stay of all deadlines “to

consummate the settlement.” (Dkt. 16 at 1).

        In light of the parties’ notice, the Court ORDERS that all pending deadlines are STAYED

until May 28, 2020. The parties shall either file a stipulation of dismissal or a motion to extend the

stay no later than May 28, 2020.

        SIGNED on April 28, 2020.



                                                   _____________________________________
                                                   ROBERT PITMAN
                                                   UNITED STATES DISTRICT JUDGE
